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Malik Abdul Jamerson Bey Ex Rel RONDALE ROMAN TUB
C/O 1500 Karen Ave#84
Las Vegas, Nevada Territory

Nevada State Republic
[Postal Zone 4]
malikabdulbey@gmail.com
3463095641

AMENDED
LEGAL NOTICE OF REMOVAL

FROM MUNICIPAL COURT TO FEDERAL COURT
PURSUANT TO TITLE 28 § 1441- §1446

US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

| NOY => 2029

CLERK, U.S, DISTRICT COURT
By.

Deputy

PROPER ARTICLE DE JURISDICTION

Cause No: 1531824
1531827
1531847
1531849

Plaintiff(s),

THE STATE OF TEXAS,
COUNTY OF TARRANT

ORIGINAL JURISDICTION

“MENISTERSCONSULS

DIPLOMATS”

Article 01, Section 2; Article VI
United States Republic Constitution
Treaty of Peace and Friendship
‘Established Law of the Land’

Federal Question(s):
Constitution, Treaty;
Religious Liberty;
Due Process;

Substantive Rights of Travel, etc.,
Supreme Court Rulings

Malik Abdul Jamerson Bey, A Natural Person, In Propria Persona, Sui Juris (not to be
confused with nor substituted with Pro Se); and not a Statutory Person. Ex Rel MALIK
ABDUL JAMERSON

Petitioner / Alleged Accused,

(Hereinafter Petitioner)

Official Notice is hereby served on the 396™* DISTRICT COURT OF TARRANT COUNTY TEXAS;
all Judicial Sub-Divisions; Officials; Agents; and above named Plaintiff-all cases and Jurisdiction /
Venue moved to Federal Court. Alf Matters, Complaints, Traffic Tickets / Suits, Citations / Bilis of
Exchange (misrepresented as lawful warrants, efc.), must be filed with Federal Court, pursuant to

Jurisdiction named hereinafter.

I.

JURISDICTION

Jurisdiction / Venue are hereby placed in one Supreme Court, pursuant to Article I Section 2 for The

United States Republic, and the several States, under the Constitution; Article VI; and reaffirmed by
obligatory Official Oaths.

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“The Judicial Power shall extend to all cases, in law and equity, arising under this Constitution, the laws
of the United States, and treaties made, or which shall be made, under their authority;--io all cases
affecting ambassadors, other public ministers and consuls; --to all cases of admiralty and maritime
jurisdictions;--to controversies to which the United States shall be a party;--fo controversies between
two or more states;--between a state and citizens of another state;--between citizens of different states;--
between citizens of the same state claiming lands under grants of different states, and between a state, or
the citizens thereof, and foreign states, citizens or subjects.”

In ail cases affecting ambassadors, other public ministers and consuls, and those in which a state shall be
a party, the Supreme Court shall have original jurisdiction, In all the other cases before mentioned, the
Supreme Court shall have appellate jurisdiction, both as to law and fact, with such exceptions, and under
such regulations as the Congress shall make.

COMES NOW, Malik Abdul Jamerson Bey, In Propria Persona, Sui Juris (not to be confused with Pro
se), Aboriginal Indigenous Moorish-American; possessing Free-hold by Inheritance status; standing
squarely affirmed and bound to the Zodiac Constitution, with all due respect and honors given to the
Constitution for the United States Republic, North America. Being a descendant of Moroccans and born
in America, with the blood of the Ancient Moabites from the Land of Moab, who received permission
from the Pharaohs of Egypt to settle and inhabit North-West Africa / North Gate. The Moors are the
founders and are the true possessors of the present Moroccan Empire; with our Canaanite, Hittite and
Amorite brethren, who sojourmed from the land of Canaan, seeking new homes, Our dominion and
inhabitation extended from Northeast and Southwest Africa, across the Great Atlantis, even unto the
present North, South and Central America and the Adjoining Islands-bound squarely affirmed to THE
TREATY OF PEACE AND FRIENDSHIP OF SEVENTEEN HUNDRED AND EIGHTY-SEVEN
(1787) A.D. superseded by THE TREATY OF PEACE AND FRIENDSHIP OF EIGHTTEEN
HUNDRED and THIRTY-SIX (1836) A.D, between Morocco and the United States
(http:/www.yale.edu/lawweb/ayalon/diplomacy/barbary/barl866t.him or at Beyines Law Book of
Treaties) the same as displayed under Treaty Law, Obligation, Authority as expressed in Article VI of
the Constitution for the United States of America (Republic):

THE TREATY OF PEACE AND FRIENDSHIP OF 1836 A.D.
Between Morocco and the United States
Article 26
“If any of the Citizens of the United States, or any Persons under their Protection. shall have any
disputes with each other, the Consul shall decide between the Parties, and whenever the Consul shall
require any Aid or Assistance from our Government, to enforce his decisions, it shall be immediately
granted to him.”

Article 21
“Tf any Citizen of the United States should kill or wound a Moor, or, on the contrary, if a Meor shall
kill or wound a Citizen of the United States, the Law of the Country shall take place, and equal Justice

shall be rendered, the Consul assisting at the Trial: and if any Delinquent shall make his escape, the
Consul shall not be answerable for him in any manner whatever.”

IE
PARTIES
Plaintiffs

1 STATE OF TEXAS TARRANT COUNTY 396TH DISTRICT COURT , private corporation;
foreign to the United States Republic; and all TEXAS CITY Employees; Agents; Officers,
Contractors; Assignees, etc., being Plaintiffs, Claimants, or Parties of Interest in the ‘Color-of-
Law’ processes instituted by them, or any one of them, against Malik Abdul Bey.

2. Thomas D Wilder, officer of the STATE OF TEXAS TARRANT COUNTY 396TH
DISTRICT COURT FOR THE DISTRICT OF TEXAS, private corporation, foreign to
the United States Republic; and foreign to the organic Texas Republic

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3. Mary Louise Garcia, officer of the STATE OF TEXAS TARRANT COUNTY, COUNTY
CLERK FOR THE DISTRICT OF TEXAS, private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic.

4. Windy Cooper, officer of the STATE OF TEXAS TARRANT COUNTY MUNICIPAL COURT
FOR THE DISTRICT OF TEXAS , private corporation, foreign to the United States Republic;
and foreign to the organic Texas Republic.

5, Carey Walker, officer of the STATE OF TEXAS TARRANT COUNTY 396TH DISTRICT
COURT FOR THE DISTRICT OF TEXAS , private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic.

6. George Gallagher, officer of the STATE OF TEXAS TARRANT COUNTY 396TH DISTRICT
COURT FOR THE DISTRICT OF TEXAS , private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic.

4 Tommie LaRue, Court Administer for the COUNTY OF TARRANT — 396™ DISTRICT
COURT OF TEXAS, private corporation foreign to the United States Republic; and foreign to
the organic Texas Republic.

8. STATE OF TEXAS, corporation established in the year EIGHTTEEN FORTY FIVE (1845),
foreign to the organic Texas state Republic, and foreign to the United States Republic of North
America,

9. Ken Paxton, officer of the STATE OF TEXAS, ATTORNEY GENERAL, private corporation,
foreign to the United States Republic; and foreign to the organic Texas Republic.

10. Sharon Wilson, officer of the TEXAS, private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic,

Hl. John David Tipton i, officer of the STATE OF TEXAS, private corporation, foreign to the
United States Republic; and foreign to the organic Texas Republic.

12. Casey J Cole, officer of the STATE OF TEXAS, private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic.

13. Adrian Crane, officer of the STATE OF TEXAS, private corporation, foreign to the United
States Republic; and foreign to the organic Texas Republic.

14. Bill Wayboum, officer of the STATE OF TEXAS, private corporation, foreign to the United
States Republic; and foreign to the organic Texas Republic.

15. Sean Kinkade, officer of the STATE OF TEXAS, private corporation, foreign to the United
States Republic; and foreign to the organic Texas Republic.

16. Jason Meray, officer of the STATE OF TEXAS, private corporation, foreign to the United States
Republic; and foreign to the organic Texas Republic.

Petitioner

Malik Abdul Jamerson Bey, In Propria Persona, Sui Juris (not to be confused with Pro se} Aboriginal,
Indigenous Moorish American National, C/O 3604 Willow Pass Rd#211, Baypoint Territory, California
Republic [Postal Zone 3].

I, Malik Abdul Jamerson Bey , In Propria Persona, Sui Juris; Aboriginal, Indigenous Moorish American
Nationai, Freehold by Inheritance with Birthrights and protected and secured Inalienable Rights, makes

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with this NOTICE OF REMOVAL of the unconstitutional Complaint - Summons / Ticket ~ Suit / Bill
of Exchange / Action, Number 1531824/1531827/1531847/1531849, Petitioner is with reasonable
expectation that the Officers / Agents, and Officials, holding any position of Public Trust, or political office, are
prohibited, under Official Oath, under the authority of The Law of the Land, from the use of the official
position(s) or office(s) to violate the Constitution for the UNITED STATES OF AMERICA; and thus, by the
abuse of authority, and the practice of superseding their ‘limited’ jurisdictional powers, violate and abridge the
Natural, Divine, Unalienable, and Secured Rights of the People; terminating with the cause of damage fo this
Petitioner / Plaintiff.

IW
CAUSE OF ACTION

The Petitioner / Malik Abdul Jamerson Bey was detained, searched and seized, and arrested by
Policeman / Prosecuting Wimess, Officer Sean Kinkade 1D#2636, employed by the Arlington Texas
Police Department, who stated that Malik Abdul Bey was in violation of Texas Transportation Code
Sec. 521.021 which is private policy (being classed as law).

The STATE OF TEXAS 396TH DISTRICT COURT FOR THE DISTRICT OF TEXAS is an
unconstitutional, private corporation, not delegated by Congress, under Article HI, Section 2 of the
Constitution; and that the Officers does not, and did not provide ‘Due Process’ protected and secured for
the People, by the Amendments IV, V, VI, VII, VII, IX, and X of the United States Constitution, to
which the Judges and Officers in every State is bound (by Official Oath} to support and to uphold. Any
statutory regulation, ordinance, or laws of any State, to the contrary, notwithstanding.

This allegedly - accused Petitioner believes that in accord with the Substantive Rights retained by the
Petitioner, notifying all parties of the Petitioner’s Moorish American (Identification / Status) and that the
Petitioner was not, is not, and does not, waive any Inalienabie Rights to due process; and affirmed that
any action be adjudicated in a lawfully delegated jurisdiction and venue.

The Officers of STATE OF TEXAS commanded that the Petitioner Pay Fines and Costs Imposed under
threat, duress, and coercion with a ‘man-of-straw’ / misnomer word, misrepresented as implying my
name, and typed upon the Order / Instrument, and was improperly spelled, “MALIK ABDUL
JAMERSON?” in ALL CAPITAL LETTERS. That misnomer and CORPORATE - NAME, “MALIK.
ABDUL JAMERSON” is clearly (an artificial — person / entity); is not me, the Natural Person; is a
deliberate grammatical error, intended for injury to me; and is clearly not of consanguine relationship to
me or to my nationality, in any form, truth, or manner,; nor to my Moorish Family Bloodline. This is a
in violation of my secured rights to my name and nationality; a violation of International Law; and a
violation of the Obligations of the Officers of the Court; and a violation of their fiduciary duties and
Official Oaths to uphold and to support Article VI of the United States Constitution; and thus, violating
my Substantive Rights, and the Articles of Part 1 of ‘The Rights of Indigenous People’
(hitp://en.wikisource.org/wiki/Drait: United_Nations Declaration_on_the _Rights_of_indige...) as
follows:

“Indigenous People have the right to a full and effective enjoyment of all human rights and fundamental

freedoms recognized in the Charter of the United Nations: The Universal Declaration of Human Rights:

And International Human Law.”

Article 5 of the Rights of Indigenous People

“Every Indigenous individual has the Right to a Nationality.”,
Article I5 of the Declaration of Mianan Rights (http/Awww.un.org/Overview/rights.himl)

everyone has a right to a nationality. (2) No one shall be arbitrarily deprived of his nationality nor
denied the right to change his name.”

This Petitioner made a “Reservation of Rights” as stated on the ticket / summon / suit/ complaint No.
1531824/1531827/1531847/1531849 and signed for the record; name, correct spelling of name.

Plaintiff Officer Sean Kinkade is with the ‘want of jurisdiction’ by knowingly and willingly
conspiring (under a Color-of-Authority) to deny this Petitioner, Malik Abdul Jamerson Bey,
(after this Petitioner made a reservation of rights and stating for the record; name, correct
spelling of name, and national status) his Inalienable Rights, the right to a Name and
Nationality of his choosing, etc. The State / Judge / Accuser(s) alleged and assumed the
Petitioner of being a Corporate Ward-ship 14th Amendment Artificial Negro Person / citizen,
which resulted in an unlawful arrest-of-rights, immunities and liberties; which is in direct

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contradiction to, and a violation of, the Fourth (TV) Amendment of the Constitution for the
United States (Republic); violating Article VI of the Constitution, by way of violating The
Treaty of Peace and Friendship of EIGHTEEN HUNDRED-THRITY-SEX (1836) A.D.;
Congressional Resolution # 75, Philadelphia Pennsylvania; a violation of Article 15 of “The
Universal Declaration of Human Rights’ of Nineteen Hundred and Forty-Eight (1948) A.D. —
General Assembly, United Nations; a violation of ‘The Declaration of the Rights of The Chiid’
of Nineteen Hundred and Fifty-Nine(1959}
A.D(http:/Avww.un.org/cyberschoolbus/humanrights/resources/child.asp); and violating
‘The Rights of Indigenous Peoples’; and that the Officers of THE STATE OF TEXAS
knowingly committed ‘fraud’ against the Petitioner (Sulieman Wise Lord Bey) by abusing
their authority, in that they failed to correct a known violation; and did not aid in preventing
said such abuse of authority, while having (by law) the obligation to do so; and violated the
Fifth Amendment of The Bill of Rights of Seventeen Hundred and Ninety-One (1791) A.D.;
impeding the Peoples’ right fo due process under the Law, and equal protection of the
Law, Article 1 Section 10 of The Constitution for The United States of America (Republic)
which secures this Petitioner the right to contract and conspiracy to commit fraud against this
Petitioner and against the United States Republic.

kV
CONCLUSION

1) It is a sin for any group of people to violate the Constitutional Laws of a Free National
Government.

2) The Delegates, which comprise the majority of Aboriginal and Indigenous Freeholders, by
Birthright, Inheritance, and Primogeniture, and declared ‘for the record’ and known by the consanguine /
Pedigree of their / our Forefathers, as Moors / Muurs; and the Eucopean Colonial Settlers of the United
States of America, did, on the fifteenth day of November in the year Seventeen Seventy-seven (1777),
and in the second year of the Independence of The United States of America, agreed to certain Articles
of Confederation and perpetual Union between the States of New Hampshire, Massachusetts Bay,
Rhode Island, and Providence Plantations, Connecticut, New York, New Jersey, Pennsylvania,
Delaware, Maryland, Virginia, North Carolina, South Carolina and Georgia; wherein they did declare
that the style of the Confederacy shall be the United States of America.

3} All parties to the Articles of Confederation of 1778 did also agree that Article IX shall set forth
the procedure for resolving a dispute brought before the Congress of the United States by a freely
associated compact State of the United States of America.

4) All parties to the Articles af Confederation of 1778 did also agree that no Congress shall
thereafter alter Article 1¥ of the Articles of Confederation unless it has received confirmation to do so by
every State in the Union (4rticle XT of the Articles of Confederation).

5) The United States, pursuant to an "Act" of the States sitting in Congress under the Articles of
Confederation of Seventeen Hundred and Seventy-Eight (1778) A.D., authorized a Constitutional
Convention for the purpose of forming a more perfect Union, to establish justice, to insure domestic
tranquility, to provide for the common defense, to promote general welfare, and to secure the blessings
of liberty, did ordain and established a Constitution for the United States. The Constitution for the
United States was declared to be a "revision" to the Articles of Confederation of 1778 (REPORT OF
PROCEEDINGS IN CONGRESS, Wed., Feb.21, 1787 (Journals of the Continental Congress, vol. 38]).

6) The Constitution for the United States was established by the People of the United States of
America, and not by the States in their sovereign capacity Un reg Opinion of the Justices, 107 A. 673,
674, 118 Me. 544, 5 ALR. 1412) and was ratified by the People sitting in Convention of the Original £3
States of the United States of America (United States Constitution, Vi: 1:1).

7) The Constitution for the United States is a Compact which constitutes a binding trilateral
Contract between the People, the freely associated compact States of the United States of America, and
the United States [e.g. Article 10 of the Bil? of Rights to the Constitution af the United States} (in reg
Opinion of the Justices, 107 A. 673, 674, 118 Me, 544, 5 ALR. 1412).

8) By the wording of Article VI of the Constitution for the United States; the Congress is required to
review its legislation from time to time to determine if the legislation was made pursuant to the

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provisions of that Constitution.

9) The parties to the Compact of the United States Constitution further agreed that the enumeration
in the Constitution of certain Rights shall not be construed to deny or disparage others retained by the
People (Article 9 of the Bill of Rights to the Constitution for the United States).

10) = The parties to the Compact also agreed that the Powers not delegated to the United States under
the U.S. Constitution are reserved to the States or to the People (Article 10 of the Bill of Rights to the
Constitution for the United States),

44) On February 24, 1855; the Congress of the United States created the United States Court of
Claims. The Court of Claims was authorized to execute the mandates of Article IX of the Articles af
Confederation of 1778 and Article I of the Bill of Rights to the Constitution for the United States (10
Stat. 612, sec. I, sec. 7)

12) The Congress of the United States also enacted the "Bowman Act" of March 3, 1883 (22 Stat.
485) and the "Tucker Act" of March 3, 1887 (24 Staf. 505) to clarify the jurisdiction of the Court of
Claims, Under these Acts, either House of Congress may submit any claim or matter to the United States
Court of Claims for investigation and determination of facts. The Court was to report its findings back to
Congress for Congressional determination.

13) Notwithstanding the limitations imposed upon the United States Claims Court by P.L. 97-764
and its subsequent United States Court of Federal Claims by P.L. 102-572; the Congress of the United
States is barred by Article IX and Article XII of the Articles of Confederation and by Article I of the Bill
of Rights to the Constitution for the United States to limit its investigations to moneyed claims,

14) ‘The continual refusal of the United States Congress to resolve the Petitions of Grievances that
were submitted to it, by the several States of the Union, violates the "Good Faith" agreement that all
grievances submitted would be expeditiously resolved as mandated by the Articles of Confederation of
1778.

15) Between the years of 1866 and 1868 (and other years); several states within the United States
known as "States" submitted Petitions to the Congress of the United States for Redress of Grievances.
These Petitions have passed from Congress to Congress for over one hundred years, with the Congress
refusing to take any action to resolve the disputes as required by Article IX of the Articles of
Confederation of 1778 and Article I of the Bill of Rights to the Constitution for the United States, These
Petitions challenged the procedure by which the Congress used to amend the Constitution for the United
States. The Amendments in question are the unlawfully - ratified 13", 14" and 15th Amendments
(hereinafter referred to as the “Three Dead Badges of Law”).

16) “No change in ancient procedure can be made which disrupts those fundamental principles,
which profect the citizen in his private right and guard him against the arbitrary action of the
government.” Ex Parte Young, 209 US 123.

17) The Constitution for the United States of America binds all judicial officers at Article 6, wherein
it does say, “This Constitution and the Laws of the United States which shall be made in pursuance
thereof, and all Treaties made, or which shall be made under the authority of the United States, shall be
the Supreme Law of the Land, and the Judges of every State shall be bound thereby, anything in the
Constitution or laws of any state to the Contrary, not withstanding,” see Clause 2.

18) _ Black’s Law Dictionary 4"" Ed. Defines “Law of the land”, - When fizst used in Magna Charta,
the phrase probably meant the established law of the kingdom, in opposition fo the civil or Roman Jaw.
It is now generally regarded as meaning general public laws binding on all members of the community.
Janes v, Reynolds, 2 Tex 251; Beasley v. Cunningham, 171 Tenn. 334. 103 5.W.2d 18, 20110 A.L.R.
306, It means due process of law warranted by the constitution, by the common law adopted by the
constitution, or by statutes passed in pursuance of the constitution Mayo v. Wilson, 1 N.H. 33.

19) Clause 3, clarifies the scope of this requirement when it states that “...AHl judicial officers, both
of the United States and of the several states shall be bound to support this Constitution...”

20) The 5 Amendments require that all persons within the United States must be given due process
of the law and equal protection of the law.

21) The unconstitutional charges being applied to this Petitioner are not in pursuance of the
Constitution for the United States of America, wherein it does guarantee, and this Petitioner does declare

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the equal protection of the right to “life liberty and the pursuit of happiness” in the 1 Amendment,

which includes the right to travel as evidenced in positive law and_stare decisis, to wit; Chicago Motor
Coach v. Chicago 169 NE 221 “ the use of the highways for the purpose of travel and transportation is
not a mere privilege, but a common fundamental right of which the public and individuals cannot
rightfully be deprived”; Teche Lines v. Danforth, Miss. 12 So 2" 784, 787 “the right to travel on the
public highways is a constitutional right”, Slusher v. Safety Coach Transit Co., 229 KY 731, 17 SW 2D
1012, affirmed in Thompson v. Smith 154 S.E. 579 — “The night to travel_upon_the public highways and
transport my property thereon, by automobile is not a mere privilege, which may be permitted or
prohibited at will, but a common right which one has to life, liberty and the pursuit of happiness” and
the State’s application of 625 ILCS 5/et seq is “notwithstanding”, Article VI cl.2 Ibid.

22) ‘The Petitioner claims full and equal protection of the Law in Marbury v. Madison 5 US 137 ~
“The Constitution of these United States is the Supreme Law of the Land. Any law, that is repugnant to
the Constitution, is null and void of law.”

23) The unconstitutional charges being applied to the Petitioner are repugnant to the Constitution
because they deny a right established and guaranteed in the 15+ 4. 5 6th, 7h, Sch, 91h, and 10th 4 endments,
and in United States Supreme Court ‘Stare Decisis’ so noted above, where this court has no authority to
adjudicate contrary.

24) The unconstitutional charges under which the Petitioner is being forced to answer are non-
constitutional on their face and unconstitutional when applied to the Petitioner_because they do not have
an enacting clause or single subject title, thereby denying due process of law.

25) Due Process of law is not necessarily satisfied by any process which the Legislature may
prescribe, See: Abrams v. Jones 35 Idaho 532, 207 P. 724.

26} “Due Process of Law in each particular case means such an exercise of the powers of the
government as the settled maxims of law permit and sanction; and under such safeguards for the
protection of individual rights as those maxims prescribe for the class of cases to which the one in
question belongs.” Cooley, Const. Lim. 441.

27) Due Process as defined in H. C. Black’s Law Dictionary, 4" Edition, “ Whatever difficulty may
be experienced in giving to those terms a definition which will embrace every permissible exertion of
power affecting private rights, and exclude such as is forbidden, there can be no doubt of their meaning
when applied to judicial proceedings. They then mean a course of legal proceedings according to those
rules and principles, which have been established in our systems of jurisprudence for the enforcement
and protection of private rights.”

28) “To give such proceedings any validity, there must be a tribunal competent by its constitution——
that is by the law of its creation-—to pass upon the subject-matter of the suit; and if that involves merely
a determination of the personal liability of the defendant, he must be brought within its jurisdiction obey
service of process within the state or his voluntary appearance. Pennoyer v. Neff, 95 U.S. 733, 24 L.Ed.
565.”

29) “Due process of law implies the right of the person affected thereby to be present before the
tribunal which pronounces judgment upon the question of life liberty, or property, in its most
comprehensive sense; to be heard, by testimony or otherwise, and to have the right of controverting, by
proof, every material fact which bears on the question of right in the matter involved.”

30)  “Ifany question of fact or lability be conclusively presumed against him, this is not due process
of law, Zeigler v, Railroad Co., 58 Ala. 599.

31) These phrases in the Constitution do not mean the general body of the law, common and statute,
as it was at the time the Constitution took effect; for that would seem to deny the right of the Legislature
to amend or repeal the law. They refer to certain fundamental rights which that system of purisprudence,
of which ours is a derivative, has always recognized. Brown v. Levee Com’rs 50 Miss, 468.”

32} All orders or judgments issued by a judge in a court of limited jurisdiction must contain the
findings of the court showing that the court has subject-matter jurisdiction, not allegations that the court
has jurisdiction. In re Jennings, 68 Il.2d 125, 368 N.E.2d 864 (1977) ("in a special statutory proceeding
an order must contain the jurisdictional findings prescribed by statute.")

33) In Interest of M_V., 288 Il]_App.3d 300, 681 N.E.2d 532 (ist Dist. 1997). Without subject-matter
jurisdiction, all of the orders and judgments issued by a judge are void under law, and are of no legal

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force or effect. In Interest of M.V., 288 Ill_App.3d 300, 681 N.E.2d 532 (1st Dist. 1997) ("Every act of
the court beyond that power is void").

34) The Petitioner assert, Midland Coal Co. v. Knox County, 268 [lL App.3d 485, 644 N.E.2d 796
(4th Dist, 1994) ("Special statutory jurisdiction is limited to the language of the act conferring it, and the
court has no powers from any other source”...)

35) = The “language of the act” the complainants confer upon “has no powers from any other source”
Midland Coal Co. v. Knox County, Ibid, no evidence on it’s face of valid law, as it lacks the mandatory
enacting clause,

36) That the purpose of thus prescribing an enacting clause — "the style of the acts" —- is to
establish it; to give it permanence, uniformity, and certainty; to identify the act of legislation as of the
general assembly; to afford evidence of its legislative statutory nature; and to secure uniformity of
identification, and thus prevent inadvertence, possibly mistake and fraud, Sfate v, Patterson, 4 S.E. 350,
352, 98 N.C. 660 (1887); 82 C.ES. "Statutes," § 65, p. 104; Jomer v. State, 155 5.E.2d 8, 10, 223 Ga,
367 (1967).

37) “That the almost unbroken custom of centuries has been to preface laws with a statement in some
form declaring the enacting authority. The purpose of an enacting clause of a statute is to ‘identify’ it as
an act of legislation by expressing on its face the authority behind the act.” 73 Am. Jur.2d, "Statutes," §
93, p. 319, 320; Preckel v. Byrne, 243 N.W. 823, 826, 62 N.D. 356 (1932).

38) That for an enacting clause to appear on the face of a law, it must be recorded or published with
the law so that the People can readily identify the authority for that particular law.

39) = That “It is necessary that every law should show on its face the authority by which it is adopted
and promulgated, and that it should clearly appear that it is intended by the legislative power that enacts
it that it should take effect as a law.” People v. Deittenthaler, 77 N.W. 450, 451, 118 Mich. 595 (1898);
citing Swann v. Buck, 40 Miss. 270.

40) This Plaintiff (a court of limited jurisdiction), lacks the power to act and have proceeded beyond
the strictures of the statutes, and that the statutes being applied are created from revised statutes and
codes of a foreign and unidentified source, as they fail to show from what authority in law they exist,
where they fail to show on their face, the mandatory enacting clause,

41) Said revised statutes and codes fail to show a necessary and mandatory enacting clause on their
face, giving them lawful force and effect. Said revised statutes and codes are private codes and statutes
and are not law, do not compel this Petitioner to perform and do not apply to him, and fail to show
“authority for the court to make any order.” Levy. Industrial Common Ibid, Midland Coal Co. v. Knox
County, Tbid.

42) The Petitioner, demand all rights under the common Jaw based upon the status as a matter of due
process of law and to determine what legal rights the Petitioner has in this court and what rights will be
denied, if any, to determine what jurisdiction the Plaintiff is attempting to apply to this Natural Born
Citizen.

43) The Petitioner is not subject to the jurisdiction of this Plaintiff.

44) This Petitioner has no contract with THE 396™ DISTRICT COURT for the District of Texas, or
with the State of Texas; or with any other segment of the United States of America that can grant
jurisdiction over human rights; or over political, economic, social and cultural rights of Indigenous
Peoples.

45) =‘ The Petitioner is Aboriginal / Indigenous within the meaning of the description of the Draft
Declaration of the Inter-American Declaration of the Rights of Indigenous Peoples at Article 1
Definition:

46) “In this Declaration Indigenous Peoples are those who embody historical continuity with
societies which existed prior to the conquest and settlement of their territories by Europeans...”

47) Indigenous People are separate and distinct; alien to this administration; and have a separate and
distinct status from the administrators of the colonial occupiers of the land; as recognized in the
Declaration on Principles of International Law of Friendly Relations and Cooperation Among States;

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wherein it does say under the Principles of Equal Rights and self determination of Peoples (B5): “The
territory of a colony or other Non-Self Governing Territory has, under the Charter, a status separate and
distinct from the territory of the State administering it...”

48) Colonial legislatures were divested of their legislative powers, and required to transfer
jurisdiction and all powers over the cultural rights of indigenous and minority peoples to those peoples
and prohibited from making any law that effects the rights of indigenous people to fully and effectively
enjoy their right to self-determination in Article 5 of the Declaration on the Granting of Independence to
Colonial Countries and Peoples, Adopted by General Assembly resolution 1514 (XV) of 14 December
1960. See Article 5 to wit: “Immediate steps shall be taken, in Trust and Non-Self Governing Territories
or all other territories which have not yet attained independence, to transfer all powers to the peoples of
those territories, without any conditions or reservations, in accordance with their freely expressed will
and desire...”

49) Colonial courts were divested of, and required to, transfer the judicative power and all power to
the people of this territory, ibid.

50) See ‘The American Declaration of the Rights and Duties of Man’ (Adopted by the Ninth
International Conference of American States Bogota, Colombia, 1948 at Article 5, Article 17, Article
26)

51) The United States of America is required to obey the requirements of the Declaration on the
Principles of International Law and to obey the principles of international law enumerated therein.

52) The Vienna Convention on the Law of Treaties requires that the United States of America fulfill
its obligations incurred thereunder,

53) The United States of America is a member of the United Nations, and is bound by the Charter of
the United Nations to promote and protect the Rights of Indigenous Peoples.

54) The Declaration of the Granting of Independence to Colonial Countries and People UN GA
#1514 specifically required the United States of America to transfer ai! power to the peoples of this land,
and this specifically includes all legislative, executive and judicial powers.

55) The State of Ohio through its commercial agencies, on the Drivers License, and other
misrepresented Instruments, has committed ‘fraud’ to accomplish what is called in legal contemplation,
“Capitis Diminutio Maxima”, which is that my natural same has been murdered and I was resurrected as
a non-natural, created entity subject to regulation and denied the protections of national and international
law. This constitutes Fraud and denies due process of the law and the Freedom from the Practices and
Policies of Apartheid described in the International Convention on the Suppression and Punishment of
the Crime of Apartheid Adopted and opened for signature, ratification by General Assembly resolution
3068 CCXVIID of 30 November 1973 at Articles], 2 and 3, and the right not to be compelled to perform
under any contract or agreement not entered into voluntarily, intentionally and knowingly.

56) Executive Order Number: 13167, 63, Federal Register, 68,991 (1998)- Implementation of
Human Rights Treaties, which states “It shall be the policy and practice of the Government of the United
States, being committed to the protection and promotion of human rights and fundamental freedoms,
fully to respect and implement its obligations under the international human rights treaties to which it is
a party including the ICCPR, the CAT and the CERD.”. 396TH DISTRICT COURT for the District of
Texas, by way of its Officers, violated “Due Process’ and, conspired to deprive rights of the Petitioner;
and did neglect to prevent deprivation of rights at Title 18, U.S.C. 241 and Title 18, U.S.C. 242.

57) Maine v. Thiboutot 448 US 1, 100 SCT 2562 — Officers of the court have no immunity, when
violating a constitutional right from liability. For they are deemed to know the law.

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58) ‘Note that the presiding judge, and any judge acting as organ of the court, is aware that 42 USC
1986 requires the person(s) adjudicating legal processes, to correct wrongs, and that their failure to
correct the wrongs that were addressed constitutes Fraud under Rule 9(b) of the FRCP, cross referenced
to 28 USC 1746, and that this Fraud constitutes a Perjury on the Oath of Office at 18 USC 1621,
deprives us of rights, at 18 USC 241, and 242, Conspires to deprives rights at 42 USC 1985; is an
extortion of rights at 18 USC 872, and is actionable under 42 USC 1983.

59) Judicial officers have no immunity when they have no jurisdiction over subject matter.

60) This court shall take mandatory Judicial Notice of the adjudged decision of the Supreme Court of
the United States of Bradley v Fisher 80 U.S. 335 (1871), 351,352 that officers of the court have no
immunity when they have no jurisdiction over the subject-matter. And further in Bradley v Fisher on
page 352 and 342 is as follows:
"Where there is clearly no jurisdiction over the subject matter any authority exercised is a usurped
authority, and for the exercise of such authority, when the want of jurisdiction is known to the judge, no
excuse is permissible." This evidence of Bradiey v Fisher 80 U.S. 335 (1871).

61) Either subject-matter jurisdiction exists, or it doesn't. Subject-matter jurisdiction has been
denied, it must be proved by the party claiming that the court has subject-matter jurisdiction as to all of
the requisite elements of subject-matter jurisdiction

62) “The use of the highways for the purpose of travel and transportation is not a mere privilege, but
a common and fundamental Right of which the public and the individual cannot be nghtfully deprived.”
— Chicago Motor Coach vs. Chicago, 169 NE 22; Ligare vs. Chicago, 28 NE 934: Boon vs, Clark, 214
SSW 607; 25 Am. Jur. (1") Highways Sect. 163.

63) “The right of a citizen (or others similarly situated) to travel upon the public highways and to
transport his property thereon, by horse-drawn carriage, wagon, or automobile is not a mere privilege
which may be permitted or prohibited at will, but a common right which he has under his right to life,
liberty, and the pursuit of happiness.” — Slusher v. Safety Coac Transit Co. 229 Ky 731, 17 SW2d 1012,
affirmed by the Supreme Court in Thompson v. Smith 154 8.E. 579. (emphasis added)

64) “The right to Travel; The right to Mode of Conveyance; The Right to Locomotion are
all absolute Rights, and the Police cannot make void the exercise of rights. State v. Armstead, 60
s. 778, 779, and 781”

65) “The tight to Park or Travel is part of the Liberty of which the Natural Person and
citizen cannot be deprived without “due process of Law” under the fifth Amendment of the
United States Constitution. Kent v. Dulles 357 US 116, 125.”

66) “State Police Power extend only to immediate threats to public safety, health, welfare,
etc., Michigan v. Duke 266 US, 476 LED. At 449:”

67) “Traveling in an automobile on the public roads was not a threat to the public safety or
health and constituted no hazard to the public, and such traveler owed nothing more than “due
care” (as regards to tort for negligence) to the public and the owner owed no other duty to the
public (eg. State), he / she and his / her auto, having equal rights to and on the roadways /
highways as horse and wagons, etc.; this same right is still substantive rule, in that speeding,
running stop signs, and traveling without license plates, or registration are not threat to the public
safety, and thus, are not arrestable offenses. Christy v. Elliot, 2161 131, 74 HE 1035, LRA NS
1905 — 1910: California v. Farley 98 CED Rp#/ 89, 20 CA 3 1032 (1971)”

68} “Where rights secured by the Constitution are involved, there can be no rule-making or
legislation, which would abrogate them. Maranda v. Arizona 384 US 4336, 125:

69) “The claim and exercise of Constitutional Rights cannot be converted into a crime.
Miller v. Kansas 230 F 2"! 486, 489:”

70) “For crime to exist, there must be an injured party (Corpus Delicti} There can be no
sanction or penalty imposed on one because of this Constitutional right, Serer v. Cullen 481 F.
945:”

71) “If any Tribunal (court) finds absence of proof of jurisdiction over a person and subject
imatter, the case must be dismissed. Louisville v. Motley 2111 US 149, 298. CT. 42. “The
Accuser Bears the Burden of Proof Beyond a Reasonable Doubt.”

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72) “Tn light of my status the complaint against me must be brought before an Article ID
court as per the rules governing the Treaty of Peace and Friendship of 1787."

Therefore in accord with the official oath of the officers of this court et al that all fraudulently
presented improperly serviced instruments as per bill of exchange / suits / ticket / complaint #
1531 824/1531827/1531847/1531849 be dismissed, discredited and expunged from the record,
etc.

73) “Lack of Federal Jurisdiction can not be waived or overcome by agreement of parties”.
Griffin v. Matthews, 310 F supra 341, 342 (1969): “

74) “Want of Jurisdiction may not be cured by consent of parties’> Industrial Addition
Association v, C.LR., 323 US 310, 3313."

75) “In Supreme Court case Murdock v. Penn, 319 US 105
“No state shall convert a liberty into a privilege, license it, and attach a fee to it”.

76) See also; Shuttlesworth v. Birmingham 373 US 26
“Ef the state converts a liberty into a privilege, the citizen can engage in the right with impunity.”

77) “Petitioner asserts “Where rights secured by the Constitution are involved, there can be no rule
inaking or legislation, which would abrogate them” Miranda v. Arizona 384 U.S. 436, 491.

78) “An unconstitutional statute has been held to confer no authority on, and to afford no protection
to, an officer acting thereunder.” Also, “Officers cannot be punished for refusing to obey
unconstitutional statute.” (CIS 16, sec. 101, p. 479) “Such laws are in legal contemplation, as
inoperative as though ’ they had never been passed or as if the enactment had never been written, and
are regarded as invalid or void from the date of enactment, and not only from the date on which it is
judicially declared unconstitutional, Such a law generally binds no one, confers no rights, affords No
Protections, and imposes no duties, and compliance therewith is unnecessary.” (CJS 16, p. 469).

79) “No one is bound to obey an unconstitutional law and no courts are bound to enforce it.’ — 16 Am
Juris 2°4, Sec 177 late 2d, Sec 256,

80) “The State cannot diminish rights of the People.” — Hurtado v. California, 110 U.S. 516
81) “The state is a people and not the created form of government.” — Texas v, White, 7 Wallace, 700-7

82) “The individual may stand upon constitutional rights. He is entitled to carry on his private
business in his own way, His power to contract is unlimited, He owes no duty to the state or
to his neighbors to divulge his business or to open his door to an investigation, so far as it
may tend to incriminate him. He owes no such duty or the state, since he receives nothing
therefrom, beyond the protection of his life and property. His rights are such as existed by the
Law of the Land, long antecedent to the organization of the state... He owes nothing to the
public so long as he does not trespass upon their rights.” Hale v, Henkel, 201 U.S. 43 (1905).

83) “The makers of the Constitution conferred, as against the government, the Right to be let alone; the
most comprehensive of rights, and the right most valued by civilized men,” — United States Supreme
Court Justice Brandeis in Olmstead v. Unites States (1928).

84) Based on customary international laws, the 5" Amendment of the Constitution for the United
States of America, which guarantees due process of the law and Article IV of same Constitution Section
1; Full Faith and Credit shall be given in each State to the public Acts, Records and judicial proceedings
of every other state... uo

85) No person shall be denied the enjoyment of any civil or military right, nor be discriminated against

in the exercise of any civil or military right, nor be segregated in the militia or in the public schools,
because of religious principles, race, color, ancestry or national origin... :

86) Movant has conferred with opposing counsel and was unable to reach an agreement for the
disposition of the matters raised in the motion, ‘

v

RELIEF

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L The Enforcement of the following: The Divine Constitution and By-Laws of the Moorish
Science Temple of America; The Moonsh Nation of North America; Act Vi By Being Moorish
American, you are Part and Parcel of this said government and Must Live the Life Accordingly;
Article VI of the United States Constitution Republic / The Treaty of Peace and Friendship of
EIGHTEEN HUNDRED and THIRTY-SIX (1836) A.D., Classifies Moorish Americans as Federal
Citizens Possessing Freehold by Inheritance Status-Trith A-1. See Article 3, Section 2 of ‘The
Constitution for the United States of America’.

1} 1, Malik Abdul Jamerson Bey demand Due Process as protected by the Fourth (4%) and
Fifth (5") Amendments of the Constitution for the United States of America (Republic).

2) L, Malik Abdul Jamerson Bey, demand this United States Supreme Court stop these
abuses of the colorable authority by the Plaintiff as it pertain to this Petitioner.

3) I, Malik Abdul Jamerson Bey, demand if any criminal charges be found, let them be
placed upon the Plaintiffs.

4) I, Malik Abdul Jamerson Bey , demand this United States Supreme Court view this

Petitioner (in my Proper Person) as a Moorish American National (Natural Born Citizen of the Land)
and not as a (brand) NEGRO, BLACKMAN (person), COLORED, AFRICAN-AMERICAN, or any
other SLAVE TITLE or ‘nom de guerre’ imposed upon me for misrepresentation ‘Actions’ or other acts
of ‘Misprision’ that a misdirected society may “believe” to be true.

5) - 1, Malik Abdul Jamerson Bey do not, under any condition or circumstance, by threat,
duress, or coercion, waive any rights Inalienable or Secured by the Constitution or Treaty, and, hereby
requests the United States Supreme Court to fulfill their obligation to preserve the rights of this
Petitioner (A Moorish Americans) and carry out their Judicial Duty in ‘Good Faith’ by ordering Plaintiff
to be brought before the Law to answer for their criminal and unjust actions,

6) All UNCONSTITUTIONAL Citations — Summons / Ticket — Suit / (misrepresented)
Bull of Exchange: Number 1531824/1531827/1531847/1531849, and any other ‘Order’ or ‘Action’
associated with it / them, to be dismissed and expunged for the record on it’s face and merits: or,
otherwise, be brought before a legitimately - delegated, and competent “Court of Law’ of International
jurisdiction / venue.

7) All City, County and State Officials are to be informed of the Law of the Land
(Constitution) and their obligation to uphold the same and to no longer be excused without action on the
part of the Sheriff for violating the same. And to be made cognizance of the recompense of colorable
actions on their part, by not adhering to the Law.

3} Any Plaintiff, Corporate or Natural, Party-Claimants: Involvements be found guilty of the
charges and shall result in immediate Recusal of Office.

9) Plaintiff STATE OF TEXAS is being sued for $75,000 for compensatory damages and
$75,000 for punitive damages in its official capacity payable in lawful money,

10} Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas is
being sued for $75,000 for compensatory damages and $75,000 for punitive damages in its official
capacity payable in lawful money.

ii) Plaintiff COUNTY OF TARRANT — Court Administrator, Tommie LaRue, is being sued for
$75,000 for compensatory damages and $75,000 for punitive damages in her official and private
capacity payable in lawful money.

12) Plaintiff STATE GF TEXAS 396TH DISTRICT COURT for the District of Texas — Thomas A
Wilder, is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in her
official and private capacity payable in lawful money.

13) ‘Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas — George

Gallagher, is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in his
official and private capacity payable in lawful money,

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14) Plaintiff COUNTY OF TARRANT - CITY OF ARLINGTON, is being sued for $75,000 for
compensatory damages and $75,000 for punitive damages in its official capacity payable in lawful
money.

15) Plaintiff STATE OF TEXAS - ATTORNEY GENERAL — Ken Paxton, is being sued for
$75,000 for compensatory damages and $75,000 for punitive damages in his official and private
capacity payable in lawful money.

16) Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas — Casey J
Cole SBN#04536200, is being sued for $75,000 for compensatory damages and $75,000 for punitive
damages in his official and private capacity payable in lawful money.

17) Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas ~ Sharon
Wilson, is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in her
official and private capacity payable in lawful money.

18) Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas — John David
Tipton Jr SBN#24079469, is being sued for $75,000 for compensatory damages and $75,000 for
punitive damages in her official and private capacity payable in lawful money.

19) Plaintiff STATE OF TEXAS 297TH DISTRICT COURT for the District of Texas — Windy
Cooper, is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in her
official and private capacity payable in lawful money.

20) Plaintiff STATE OF TEXAS ARLINGTON POLICE DEPARTMENT for the COUNTY OF
TARRANT — Sean Kinkade ID#2636, is being sued for $75,000 for compensatory damages and $75,000.
for punitive damages in her official and private capacity payable in lawful money.

21) Plaintiff STATE OF TEXAS ARLINGTON POLICE DEPARTMENT for the COUNTY OF
TARRANT — Jason meray ID#2526, is being sued for $75,000 for compensatory damages and $75,000
for punitive damages in her official and private capacity payable in lawful money.

22) Plaintiff STATE OF TEXAS TARRANT COUNTY SHERRIFS DEPARTMENT -— Bill
Waybourn , is being sued for $75,000 for compensatory damages and $75,000 for punitive damages in
her official and private capacity payable in lawful moncy.

23) Plaintiff STATE OF TEXAS 396TH DISTRICT COURT for the District of Texas — Adrian

Crane SBN#05005800, is being sued for $75,000 for compensatory damages and $75,000 for punitive
damages in his official and private capacity payable in lawful money,

TRIAL BY JURY OF MY OWN PEERS WAS, AND IS, DEMANDED

I declare under the penalty of perjury under the law of the UNITED STATES CODES that the above is
true and correct to the best of my knowledge and honorable intent.

Day 18, October, 2022 = 1442M.C,

TAm:_! lt Md? fom bag

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